
38 N.Y.2d 870 (1976)
Mary Mascaro et al., Appellants,
v.
State of New York, Respondent. (Claim No. 52834.)
Court of Appeals of the State of New York.
Argued January 8, 1976.
Decided February 10, 1976.
Ira M. Hariton for appellants.
Louis J. Lefkowitz, Attorney-General (Douglas L. Manley and Ruth Kessler Toch of counsel), for respondent.
Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE concur.
*871MEMORANDUM.
There was insufficient proof in this case on which to posit a finding that there was a duty on the part of the State to maintain the curb in issue here. Accordingly, we affirm the order of the Appellate Division. Our disposition makes it unnecessary to decide between the Court of Claims' and the Appellate Division's findings of fact on the issues of negligence and notice.
Order affirmed, with costs, in a memorandum.
